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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND


INCAP SERVICE COMPANY,                               *

                                                     *

                Plaintiff                            *
v.                                                          Civil Action No. : CCB 04-CV-1592
                                                     *
THE COMMUNITY REINVESTMENT ACT
QUALIFIED INVESTMENT FUND, et al.,                   *

                Defendants                           *

*       *       *       *        *    *      *       *      *       *      *       *         *

     MOTION TO DENY DEFENDANTS’ MOTION TO DISMISS PURSUANT TO RULE 12

        Plaintiff, InCap Service Co. (“InCap Service”), through its undersigned counsel, hereby files this

motion in opposition to Defendants, The Community Reinvestment Act Qualified Investment Fund

(“CRA Fund”) and CRAFund Advisors, Inc. (“CRA Advisors”), motion to dismiss under Fed. R. Civ. P.

12(b)(2), (3), (4), (5) & (6).

                                                                    Respectfully Submitted,




Dated: July 5, 2004                                                 By: F. James Tennies

                                                                    Attorney for Plaintiff

                                                                    InCap Service Company
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                                                                    Baltimore, Maryland 21201
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